 Case1:16-cv-00646-RJJ-RSK
Case  1:16-cv-00646-RJJ-RSK ECF
                             ECFNo.
                                 No.27-1
                                     28 filed
                                          filed12/02/16
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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 Janet Tlapek,
                                               Case No. 1:16-cv-00646
                 Plaintiff,
                                               Hon. Robert J. Jonker
 v.

 Atlantic Credit & Finance Special Finance     [proposed] JUDGMENT ENTRY
                                                        ORDER
 Unit, LLC, and Law Offices of Timothy E.
 Baxter & Associates, P.C.,

             Defendants.


      Based upon the Joint Stipulation of the parties, and for good cause shown, this

matter is hereby dismissed with prejudice. All parties to bear their own fees and costs.

IT IS SO ORDERED.



                                                       /s/ Robert J. Jonker
                                                       ________________________
  Dated: December 2, 2016                              Hon. Robert J. Jonker
